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                                  In the
               United States Court of Appeals
                        For the Eleventh Circuit

                         ____________________

                               No. 23-12958
                         ____________________

      THE STATE OF GEORGIA,
                                                      Plaintiﬀ-Appellee,
      versus
      MARK RANDALL MEADOWS,


                                                  Defendant-Appellant.


                         ____________________

                Appeal from the United States District Court
                   for the Northern District of Georgia
                    D.C. Docket No. 1:23-cv-03621-SCJ
                         ____________________

      BY THE COURT:
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      2                      Order of the Court                23-12958

            Appellant’s request to expedite this appeal is GRANTED as
      follows:
            Appellant’s initial brief is due by Monday, September 18.
            Appellee’s response brief is due by Monday, September 25.
            Appellant’s reply brief is due by Thursday, September 28.
             If the Court determines that oral argument is warranted, it
      will be scheduled at a later date.

                                                      DAVID J. SMITH
                                     Clerk of the United States Court of
                                       Appeals for the Eleventh Circuit

                      ENTERED FOR THE COURT - BY DIRECTION
